Case 8:17-cv-02223-DOC-KES Document 136-3 Filed 07/29/19 Page 1 of 7 Page ID
                                 #:1580
Case 8:17-cv-02223-DOC-KES Document 136-3 Filed 07/29/19 Page 2 of 7 Page ID
                                 #:1581
Case 8:17-cv-02223-DOC-KES Document 136-3 Filed 07/29/19 Page 3 of 7 Page ID
                                 #:1582
Case 8:17-cv-02223-DOC-KES Document 136-3 Filed 07/29/19 Page 4 of 7 Page ID
                                 #:1583
Case 8:17-cv-02223-DOC-KES Document 136-3 Filed 07/29/19 Page 5 of 7 Page ID
                                 #:1584
Case 8:17-cv-02223-DOC-KES Document 136-3 Filed 07/29/19 Page 6 of 7 Page ID
                                 #:1585
Case 8:17-cv-02223-DOC-KES Document 136-3 Filed 07/29/19 Page 7 of 7 Page ID
                                 #:1586
